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                     UNITED STATES BANKRUPTCY COURT
                    FOR THE CENTRAL DISTRICT OF ILLINOIS
                              PEORIA DIVISION

IN RE                                            )
                                                 )
THOMAS B. WILLIAMS and                           )      Bk. No. 12-82275
KARIN M. WILLIAMS,                               )
                                                 )
        Debtors                                  )      Chapter 13

   RESPONDENTS KEYSTONE PEER REVIEW ORGANIZATION, INC.’S AND
     DENISE RINELL’S OBJECTION TO DEBTORS’ MOTION TO REOPEN
               CHAPTER 13 BANKRUPTCY PROCEEDING

        COME NOW respondents Keystone Peer Review Organization, Inc. (hereinafter

“KEPRO”) and Denise Rinell (hereinafter “Rinell”), by and through their undersigned

counsel, and for their Response in Opposition to debtors’ Motion to Reopen Chapter 13

Bankruptcy Proceeding, state as follows:

                                  STIPULATED FACTS

        1.    Debtors Karin Williams and Thomas Williams filed for Chapter 13

bankruptcy on October 11, 2012.

        2.    Debtors disclosed assets in the bankruptcy proceeding, representing to the

bankruptcy court and their creditors that they had no undisclosed, non-exempt assets

other than the assets listed in the bankruptcy schedule of assets.




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       3.     On December 6, 2012, the bankruptcy court approved a five-year payment

plan based on debtors’ representations, which was to be in place until December 2017.

       4.     On July 15, 2015, debtor Karin Williams (hereinafter “debtor/plaintiff”)

filed a wage claim with the Illinois Department of Labor, alleging that she was owed

additional wages from her employer at the time, KEPRO.

       5.     Debtor/plaintiff’s employment with KEPRO ended in the summer of 2015.

       6.     On February 21, 2017, debtor/plaintiff filed a lawsuit in the U.S. District

Court for the Central District of Illinois, Cause Number 17-CV-1145, against KEPRO (and

later adding Rinell as a defendant), alleging that she was entitled to damages for unpaid

wages, back pay for nearly two years, interest at 24%, punitive damages, and attorney’s

fees (hereinafter the “employment lawsuit”). Debtor/plaintiff specifically disclosed in her

written discovery responses in the employment lawsuit that her damages were a

minimum of $154,215.66, in addition to accruing attorney fees, front pay, benefits,

professional reputational damage, and punitive damages.

       7.     From the time debtor/plaintiff filed the wage claim through the time she

filed the lawsuit (and thereafter), debtor/plaintiff continued to follow the bankruptcy

payment plan.

       8.     On July 6, 2017, debtors’ debts were discharged by the bankruptcy court,

and all creditors were paid in full.

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       9.     Despite debtor/plaintiff’s claim that she calculates the value of her

employment lawsuit to be over $150,000, debtor/plaintiff did not report any additional

assets, potential assets, or causes of action prior to her debts being discharged.

       10.    On February 8, 2018, counsel for respondents took the deposition of

debtor/plaintiff in the employment lawsuit.          After testimony was elicited from

debtor/plaintiff indicating that she did not disclose the employment lawsuit as an asset

to the bankruptcy court, counsel for respondents advised debtor/plaintiff’s attorney that

it was her belief that the employment lawsuit should have been disclosed to the

bankruptcy court.

       11.    Three months passed, and debtor/plaintiff still did not disclose the

employment lawsuit as an asset to the bankruptcy court, and debtor/plaintiff made no

attempt to reopen the bankruptcy matter. Accordingly, respondents filed a motion for

summary judgment in the employment lawsuit on May 9, 2018, arguing that

debtor/plaintiff failed to disclose the employment lawsuit as an asset to the bankruptcy

court, and as such, she had no standing to prosecute the lawsuit, and furthermore, that

she was judicially estopped from prosecuting the employment lawsuit.

       12.    It was not until after respondents filed the aforementioned motion for

summary judgment that debtors filed the subject Motion to Reopen the Chapter 13




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Bankruptcy Proceeding, on May 24, 2018, to disclose the lawsuit as an asset to the

bankruptcy court.

                                       ARGUMENT

       13.    In bankruptcy proceedings, debtors are required to disclose all of their

assets, as said assets become assets of the bankruptcy estate for the benefit of the creditors.

11 U.S.C. § 521.

       14.    Debtors have a continuing duty to disclose assets, including causes of

action, to the bankruptcy court. As stated in Robinson v. Tyson Foods, Inc., 595 F. 3d

1269, 1274 (11th Cir. 2010) (internal citations omitted):

              A debtor seeking shelter under the bankruptcy laws has a
              statutory duty to disclose all assets, or potential assets to the
              bankruptcy court. The duty to disclose is a continuing one
              that does not end once the forms are submitted to the
              bankruptcy court; rather the debtor must amend [her]
              financial statements if circumstances change. This duty
              applies to proceedings under Chapter 13 and Chapter 7 alike
              because, any distinction between the types of bankruptcies
              available is not sufficient enough to affect the applicability of
              judicial estoppel because the need for complete and honest
              disclose exists in all types of bankruptcies.

See also In re Adams, 481 B.R. 854 (N.D. Miss. 2012) (holding that a Chapter 13 debtor

has a continuing duty throughout the bankruptcy case to disclose a lawsuit, even when

the lawsuit accrues after the bankruptcy petition is filed.).




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       15.    Pursuant to the U.S. Bankruptcy Code, “[a] case may be reopened in the

court in which such case was closed to administer assets, to accord relief to the debtor, or

for other cause.” 11 U.S.C. § 350(b) (emphasis added). Hence, this Honorable Court is

not required to reopen debtors’ Chapter 13 bankruptcy proceeding and the ruling is a

matter of discretion.

       16.    Debtor/plaintiff has moved this Honorable Court to reopen the Chapter 13

bankruptcy proceeding solely to avoid summary judgment in the employment lawsuit.

Debtor/plaintiff did not file the Motion to Reopen to fulfill her obligations with the

bankruptcy court.       Debtor/plaintiff did not even file the Motion to Reopen after

conversations with defense counsel. Rather, debtor/plaintiff only filed the Motion to

Reopen after she was faced with the possibility of summary judgment in the employment

lawsuit. Hence, this is not a situation where debtors inadvertently made a mistake, and

upon learning of the mistake, brought the mistake to the bankruptcy court’s attention.

Rather, this is a situation where debtors are attempting to take advantage of the

bankruptcy process. As stated by the Fifth Circuit, “[j]udicial estoppel was designed to

prevent such abuses.” In re Superior Crewboats, Inc., 374 F.3d 330, 336 (5th Cir. 2004)

(citing Burnes v. Pemco Aeroplex, Inc., 291 F. 3d 1282, 1288 (11th Cir. 2002) (“Allowing

[the debtor] to back-up, re-open the bankruptcy case, and amend his bankruptcy filings,

only after his omission has been challenged by an adversary, suggests that a debtor

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should consider disclosing personal assets only if he is caught concealing them.”).

Accordingly, debtors’ Motion to Reopen should be denied.

      17.    Furthermore, the interests of judicial economy will not be served if debtors’

Motion to Reopen is granted. There is no reason to grant debtors’ Motion, as there is

nothing further to be accomplished in the bankruptcy court. Debtors’ debts have been

discharged, and all creditors have been paid in full. Hence, the only reason for the re-

opening of this case is for debtor/plaintiff to potentially avoid summary judgment in the

employment case – not to litigate some matter actually related to the bankruptcy.

      18.    Moreover, even if debtors’ bankruptcy case is reopened by this court,

debtor/plaintiff may still not be able to avoid summary judgment, as it is up to the

discretion of the Honorable Michael Mihm to determine if debtor/plaintiff is judicially

estopped from proceeding with the employment lawsuit. This is true because regardless

if a bankruptcy matter is reopened for purposes of disclosing additional assets, judicial

estoppel can still preclude the civil lawsuit. See U.S. ex rel. Long v. GSDMIdea City,

L.L.C., 798 F.3d 265 (5th Cir. 2015) (where summary judgment was granted in favor of

defendant on judicial estoppel grounds even though plaintiff moved to reopen his

bankruptcy case to disclose a post-petition lawsuit that he had failed to disclose prior to

his debts being discharged). Hence, judicial economy would be better served allowing

Judge Mihm to decide the Motion for Judgment without the re-opening of debtors’

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bankruptcy case, as allowing debtors to reopen the bankruptcy proceeding would subject

“the strained resources of the bankruptcy court to an unnecessary expenditure of time

and effort.” In re Perez, 98 B.R. 386 (N.D. Ill. 1989).

       WHEREFORE, respondents Keystone Peer Review Organization, Inc. and Denise

Rinell pray that that this Honorable Court denies debtors’ Motion to Reopen Chapter 13

Bankruptcy Proceeding, and for such further relief this Honorable Court deems just and

proper.

                                           /s/ Denise Baker-Seal__________________
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                                 AFFIDAVIT OF SERVICE

       I, the undersigned, on the 28th day of August, 2018 electronically filed this
document with the United States Bankruptcy Court, Central District of Illinois, Peoria
Division which will send electronic notification to each of the following:

Michael D. Clark, Trustee
Mclark13@mtco.com

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      The undersigned certificates that on August 15, 2018 a copy of the filed pleading
was emailed and mailed via standard U.S. Mail to the additional parties:

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       Under penalties of perjury as provided by law, I certify that the statements in this
affidavit are true.

                                          /s/ Denise Baker-Seal______________________



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